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  OFFICE OF THE GENERAL COUNSEL
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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


  U.S. SECURITIES AND EXCHANGE COMMISSION,

                 Plaintiff,

                 v.                                                 16 Civ. 1619 (BRM) (JAD)

  GUY GENTILE,

                 Defendant.

     DECLARATION OF MATTHEW S. FERGUSON IN SUPPORT OF PLAINTIFF’S
            OPPOSITION TO GENTILE’S MOTION FOR CONTEMPT

         I, Matthew S. Ferguson, pursuant to 28 U.S.C. § 1746, under penalty of perjury, do

  hereby declare as follows:

     1. I am employed as a Senior Counsel in the Office of the General Counsel of Plaintiff the

  United States Securities and Exchange Commission (the “SEC or “Commission”). I submit this

  Declaration in opposition to Defendant Guy Gentile’s motion for contempt. I am fully familiar

  with the facts and circumstances herein.

     2. Attached hereto as Exhibit A is a true and correct copy of the Complaint in SEC v.

  MintBroker Int’l, Ltd., Case No. 21-21079 (S.D. Fla.).
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     3. Attached hereto as Exhibit B is a true and correct copy of the SEC’s Motion for

  Extension of Time to Effectuate Service of Process filed on June 18, 2021, in SEC v. MintBroker

  Int’l, Ltd., Case No. 21-21079 (S.D. Fla.).

     4. Attached hereto as Exhibit C is a true and correct copy of the Order on Motion for

  Extension of Time to Effectuate Service of Process entered by the court on June 21, 2021, in

  SEC v. MintBroker Int’l, Ltd., Case No. 21-21079 (S.D. Fla.).

     5. Attached hereto as Exhibit D is a true and correct copy of the Order on Motion for

  Alternate Service of Process, or, in the Alternative, for a 90-Day Extension of Time to Effectuate

  Service entered by the court on September 22, 2021, in SEC v. MintBroker Int’l, Ltd., Case No.

  21-21079 (S.D. Fla.).

     6. Attached hereto as Exhibit E is a true and correct copy of the Summons in a Civil

  Action, Service by Publication entered by the clerk of the court on September 30, 2021, in SEC

  v. MintBroker Int’l, Ltd., Case No. 21-21079 (S.D. Fla.).

     7. Attached hereto as Exhibit F is a true and correct copy of Defendant’s Motion for

  Enlargement of Time to Answer or Otherwise Respond to the Complaint filed by Guy Gentile on

  October 20, 2021, in SEC v. MintBroker Int’l, Ltd., Case No. 21-21079 (S.D. Fla.).

     8. Attached hereto as Exhibit G is a true and correct copy of the Order on Motion for

  Enlargement of Time to Answer or Otherwise Response to the Complaint entered by the court on

  October 20, 2021, in SEC v. MintBroker Int’l, Ltd., Case No. 21-21079 (S.D. Fla.).

     9. Attached hereto as Exhibit H is a true and correct copy of Defendant Guy Gentile’s

  Memorandum of Law in Support of His Motion to Stay this Action Pending Resolution of His

  Outstanding Motion for Contempt filed by Gentile on November 8, 2021, in SEC v. MintBroker

  Int’l, Ltd., Case No. 21-21079 (S.D. Fla.).



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      10. Attached hereto as Exhibit I is a true and correct copy of Plaintiff’s Response in

  Opposition to Defendant Guy Gentile’s Motion to Stay this Action filed on November 22, 2021,

  in SEC v. MintBroker Int’l, Ltd., Case No. 21-21079 (S.D. Fla.).

      11. Attached hereto as Exhibit J is a true and correct copy of Defendant Guy Gentile’s Reply

  Memorandum of Law in Support of His Motion for a Stay filed on November 29, 2021, in SEC

  v. MintBroker Int’l, Ltd., Case No. 21-21079 (S.D. Fla.).

      12. Attached hereto as Exhibit K is a true and correct copy of Defendant Guy Gentile’s

  Memorandum of Law in Support of His Motion to Dismiss the Complaint for Lack of Personal

  Jurisdiction filed on December 1, 2021, in SEC v. MintBroker Int’l, Ltd., Case No. 21-21079

  (S.D. Fla.).

      13. Attached hereto as Exhibit L is a true and correct copy of the Complaint for Abuse of

  Process and Declaratory and Injunctive Relief filed on February 8, 2019, in Guy Gentile v. SEC,

  Case No. 19-cv-5155 (D.N.J).

      14. Attached hereto as Exhibit M is a true and correct copy of the Opinion entered by the

  Court on May 14, 2019, in Guy Gentile v. SEC, Case No. 19-cv-5155 (D.N.J).

      15. Attached hereto as Exhibit N is a true and correct copy of the Order entered by the Court

  on May 14, 2019, in Guy Gentile v. SEC, Case No. 19-cv-5155 (D.N.J).

          Pursuant to 28 U.S.C. § 1746, I declare that the foregoing is true and correct.

  DATED:         Washington, D.C.
                 December 6, 2021
                                                              /s/ Matthew S. Ferguson
                                                        Matthew S. Ferguson




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                                  CERTIFICATE OF SERVICE

         I hereby certify that I caused the foregoing Declaration of Matthew S. Ferguson in

  Support of Plaintiff’s Opposition to Guy Gentile’s Motion for Contempt, executed December 6,

  2021, with Exhibits, to be served on Gentile by filing via PACER, with additional email notice to

  Gentile’s counsel, at aford@fordobrien.com and mford@fordobrien.com, this 6th day of

  December, 2021.

                                                      /s/ Matthew S. Ferguson
